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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                    18-CR-834-09 (PAE)
                       -v-
                                                                          ORDER
 ANTHONY ELLISON,

                                      Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court today is issuing an amended judgment to correct a non-substantive error at

Wednesday’s sentencing. At sentencing, the Court imposed an overall sentence of 288 months

imprisonment and stated that a sentence of that length would be imposed on each of the three

counts, the terms to run concurrently. Following sentencing, the Court was reminded that, while

the maximum term of imprisonment on each of the other two counts (Counts 2sss and 5sss)

exceeds the sentence imposed, the maximum term of imprisonment on Count 1sss is 20 years (or

240 months) imprisonment. The amended judgment imposes, on Count 1sss, a sentence of 240

months imprisonment, and makes this term concurrent with the terms of 288 months

imprisonment imposed on each of Counts 2sss and 5sss.


       SO ORDERED.


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                                                         PAUL A. ENGELMAYER
                                                         United States District Judge
Dated: November 6, 2020
       New York, New York
